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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 MARCELLA L. TROUT


                      Plaintiff,

          v.

 TENET HEALTHSYSTEM MEDICAL,                       Case No. 3:21-CV-01198-X
 INC.

                      Defendant.


               DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rules 7.4 and 3.1(c) for the

Northern District of Texas, Defendant Tenet HealthSystem Medical, Inc. (“Defendant” or

“Tenet”) files this Certificate of Interested Persons and certifies that the following is a complete

list of all persons, associations of persons, firms, partnerships, corporations, guarantors, insurers,

affiliates, parent or subsidiary corporations, or other legal entities who or which are financially

interested in the outcome of the above-captioned action:

       (1)     Marcella L. Trout – Plaintiff

       (2)     Tenet HealthSystem Medical, Inc. – Defendant

       (3)     Healthcare Network Holdings, Inc. – 100% owner of Tenet HealthSystem
               Medical, Inc., directly or indirectly

       (4)     Tenet Healthcare Corporation – 100% owner of Healthcare Network Holdings,
               Inc., directly or indirectly

       (5)     Robert E. Goodman Jr., Kilgore & Kilgore, PLLC – Counsel for Plaintiff

       (6)     Melissa M. Goodman, Haynes and Boone, LLP – Counsel for Defendant




DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS                                                       1
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Dated: August 5, 2021
                                                   Respectfully submitted,

                                                   /s/ Melissa M. Goodman
                                                   Melissa M. Goodman
                                                   State Bar No. 00790648
                                                   melissa.goodman@haynesboone.com
                                                   Raquel O. Alvarenga
                                                   State Bar No. 24112449
                                                   Raquel.alvarenga@haynesboone.com
                                                   HAYNES AND BOONE, LLP
                                                   2323 Victory Avenue, Suite 700
                                                   Dallas, Texas 75219
                                                   Telephone: (214) 651-5000
                                                   Facsimile: (214) 651-5940

                                                   ATTORNEYS FOR DEFENDANT
                                                   TENET

                               CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2021, I electronically transmitted the attached

document to all counsel of record via the Court’s ECF system.

                                                   /s/ Melissa M. Goodman
                                                   Melissa M. Goodman




DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS                                           2
